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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                )
 ABREU SANTIAGO                                 )
                                                )
         Plaintiff,                             )
                                                )       Case No. 1:24-cv-01816
 v.                                             )
                                                        Honorable Manish S. Shah
                                                )
 WPS SCHAUMBURG, LLC., a Delaware
                                                )
 limited liability company
                                                )
         Defendant.                             )
                                                )
                                                )

                         NOTICE OF SETTLEMENT IN PRINCIPLE


       Plaintiff respectfully notifies the Court that the Parties have agreed to settle the above-

captioned matter in principle. The Parties respectfully request that all upcoming deadlines,

including Defendant’s deadline to Answer, be adjourned so the Parties can focus on resolving this

matter and filing a stipulation of dismissal.

                                                        Respectfully submitted,

                                                        CASS LAW GROUP, P.C.

                                                        /s/ Angela C. Spears
                                                        Angela C. Spears
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Dated: July 2, 2024




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